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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


 UNITED STATES OF AMERICA,

 v.                                            No. 1:17-CR-0229-AT-CMS
 JARED WHEAT, JOHN
 BRANDON SCHOPP, and HI-
 TECH PHARMACEUTICALS,
 INC.,

        Defendants.


 DEFENDANT’S MOTION FOR ORAL ARGUMENT ON DEFENDANTS’
                  FRANKS CHALLENGE

      COME NOW Defendants Jared Wheat, Brandon Schopp, and Hi-Tech

Pharmaceuticals, Inc., by and through their undersigned counsel, and move for oral

argument on their objections to the Magistrate Judge’s Supplement to Report and

Recommendation date May 28, 2020 denying Defendants’ challenge to the premises

search warrants pursuant to Franks v. Delaware, 438 U.S. 154 (1978). Docs. 447,

431, 191, and on Defendant Schopp’s Motion to Suppress Based on Agent

Kriplean’s Admissions at the Franks Hearing Doc. 445. In support of this request,

Defendants respectfully show this Court the following:
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                                 Statement of Facts

      Currently pending before this Court are Defendants’ objections to the

Magistrate Judge’s Supplement to Report and Recommendation Date May 28, 2020

(“R&R”) denying Defendants’ motion to suppress evidence seized at their business

premises under Franks v. Delaware, and Defendants’ appeal from the Magistrate

Judge’s denial of their requests to seal documents and to order the Government to

provide the discovery necessary to resolving the Franks challenge, Docs. 447 &

436,1 as well as Defendant Schopp’s Motion to Suppress Based on Agent Kriplean’s

Admissions at the Franks Hearing Doc. 445.

      Defendants seek permission to present oral argument on their Franks

challenge in order to assist this Court in resolving these matters.

                 ARGUMENT AND CITATION OF AUTHORITIES

      While the Federal Magistrate’s Act permits a motion to suppress to be referred

to a magistrate for a recommendation, “[t]he authority and the responsibility to make

an informed, final determination, we emphasize, remains with the judge.” Mathews

v. Weber, 423 U.S. 461, 270-71 (1976).          To that end, the Act “provides for

procedures to safeguard the integrity of the factfinding process and to ensure that the


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  Defendants incorporate the factual recitations, arguments and authorities in both
those pleadings here.


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district judge retains final responsibility for ruling on the motion[.]” United States

v. Marshall, 609 F.2d 153, 154 (5th Cir. 1980); see also 28 U.S.C. § 636(b).

      The purpose of oral argument is to permit the Court to conduct a dialogue with

counsel about the legal issues and to clarify the facts in the record and how they bear

on those issues. This case turns on a procedural history that spans five years and on

the FDA’s investigation of Hi-Tech from 2011-2017. Doc. 51-2 at 19. The parties

have several disagreements about the factual and legal sufficiency of the evidence

as it relates to Defendants’ Franks challenge. Relying only on the transcripts and

briefing may make it difficult to entirely appreciate the full impact of certain facts

in relation to others and to omissions in the record, especially given the lengthy,

intricate history of this case. Permitting the Socratic dialogue oral argument affords

will materially contribute to a reliable resolution of the Franks challenge.

      WHEREFORE, Defendants respectfully pray that this Court set an oral

argument in this matter, and for such other and further relief as this Court deems just

and proper.



      This 16th day of December, 2021.




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